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 6                      IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   PHH Mortgage Corporation,                        No. CV-21-01516-PHX-DLR
10                  Plaintiff,                        ORDER
11   v.
12   Arch U.S. MI Service Incorporated,
13                  Defendant.
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15           The Court having reviewed the parties’ Stipulation for 60-Day Stay of Case (Doc.
16   17), and good cause appearing;

17           IT IS ORDERED that, pursuant to the parties’ stipulation, this case is stayed for
18   60 days. The current deadline for Defendant Arch U.S. MI Services, Inc. to file a response

19   to the First Amended Complaint is extended from December 21, 2021, until February 21,

20   2022.
21           Dated this 23rd day of December, 2021.
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                                                  Douglas L. Rayes
26                                                United States District Judge
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